Case 1:18-cr-00204-NGG   Document 456-9 Filed 03/22/19   Page 1 of 3 PageID #:
                                   4768




                            EXHIBIT 8
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-9  Filed03/15/19
                                    429 Filed   03/22/19 Page
                                                           Page
                                                              1 of2 2ofPageID
                                                                        3 PageID #:
                                                                              #: 4287
                                    4769
                                         U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
  MKM:MKP/TH/MJL                                      271 Cadman Plaza East
  F. #2017R01840                                      Brooklyn, New York 11201



                                                      March 15, 2019


  By ECF

  The Honorable Nicholas G. Garaufis
  United States District Judge
  United States District Court
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:      United States v. Keith Raniere, et al.
                         Criminal Docket No. 18-204 (NGG)

  Dear Judge Garaufis:

                  The government respectfully submits this letter to update the Court regarding
  its expert disclosures. The government is in the process of retaining Dr. Stuart Grassian to
  offer testimony on the subject of social isolation, and Dr. Dawn Hughes to offer testimony on
  the subject of the behavior of victims of sex crimes, as further described in the government’s
  disclosure, dated February 25, 2019. The doctors’ CVs are separately being emailed to
  defense counsel and each doctor has been qualified as an expert by various courts on the
  same general topics as to which the government will seek to have them testify. The
  government is also still in the process of evaluating who it will offer to testify regarding the
  health effects of extreme calorie restriction and sleep deprivation.

                  Because the procurement process is incomplete, the government respectfully
  requests that a deadline for any supplementary disclosures as to these witnesses be discussed
  at the status conference on Monday, March 18. Moreover, based on the current trial date, the
  government does not intend to call Dr. Welner as a witness; however, the government
  Case
Case    1:18-cr-00204-NGG Document
     1:18-cr-00204-NGG-VMS Document456-9  Filed03/15/19
                                    429 Filed   03/22/19 Page
                                                           Page
                                                              2 of3 2ofPageID
                                                                        3 PageID #:
                                                                              #: 4288
                                    4770



  reserves its right to move the Court at a later date to offer testimony from Dr. Welner if the
  trial date moves.


                                                      Respectfully submitted,

                                                      RICHARD P. DONOGHUE
                                                      United States Attorney

                                              By:       /s/
                                                      Moira Kim Penza
                                                      Tanya Hajjar
                                                      Mark J. Lesko
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000


  cc:    Clerk of Court (NGG) (by ECF)
         Counsel of Record (by ECF)




                                                 2
